—_

oan ow wo

10
11
12
13
14
1
16
17
18
19
20
21
22
23
24
25
26
27
28
29
30
31

 

 

KEN THERRIEN

413 NORTH SECOND STREET
YAKIMA, WA 98901
509.457.5991

Attorney for:
LORENZO ELIAS MENDEZ

UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF WASHINGTON
(Honorable Salvador Mendoza, Jr.)

UNITED STATE OF AMERICA, NO. 1:18-CR-2037-SMJ
Plaintiff, )
) DECLARATION OF KENNETH
VS: ) THERRIEN IN SUPPORT OF
) MOTION FOR APPOINTMENT OF
LORENZO ELIAS MENDEZ, ) COUNSEL ON APPEAL PURSUANT
atendant, TO THE CRIMINAL JUSTICE ACT

 

The undersigned, Ken Therrien, makes the following declaration as follows:

That I am the attorney for the defendant Lorenzo Elias Mendez.

That Lorenzo Elias Mendez has submitted his CJA 23 — Financial Affidavit - to
the Court for its consideration in appointing counsel for his appeal.

That Lorenzo Elias Mendez was sentenced by this Court on January 07, 2020.

That on January 09, 2020 his Judgement in a Criminal Case was entered.

That Mr. Mendez has indicated to me that he is unable to afford counsel on
appeal.

That I make file this declaration in support of that motion, filed herewith.

DECLARATION OF KENNETH THERRIEN IN SUPPORT KEN THERRIEN PLLC
OF MOTION FOR APPOINTMENT OF COUNSEL ON 413 NORTH SECOND STREET
APPEAL PURSUANT TO THE CRIMINAL JUSTICE ACT YAKIMA, WA 98901

Page 1 (509) 457-5991
_

oaoanrt ow wo

10

12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
29
30
31

 

 

 

 

That this motion is brought in good faith and not for purposes of undue delay.

I declare that the foregoing is true and correct.

Dated this 15" day of January, 2020.

/s/ Ken Therrien
KEN THERRIEN, WSBA #20291
Attorney for Lorenzo Elias Mendez.

CERTIFICATE OF SERVICE

[ hereby certify under penalty of perjury of the laws of the State of Washington that on
January 15, 2020, I electronically filed the foregoing with the Clerk of the Court using
the CM/ECF System which will send notification of such filing to the following:

e Alison Gregoire, Assistant United States Attorney
e Thomas J. Hanlon, Assistant United State Attorney

And upon the defendant herein, by U.S. Mail, postage prepaid properly addressed as
follows:

Lorenzo Elias Mendez, c/o Yakima Co. Jail, 111 North Front St., Yakima, WA 98901

s/ Ken Therrien
KEN THERRIEN, WSBA #20291
Attorney for Lorenzo Elias Mendez
413 North Second Street
Yakima, WA 98901
(509) 457-5991
Fax: (509) 457-6197
kentherrien@msn.com

DECLARATION OF KENNETH THERRIEN IN SUPPORT KEN THERRIEN, PLLC
OF MOTION FOR APPOINTMENT OF COUNSEL ON
APPEAL PURSUANT TO THE CRIMINAL JUSTICE ACT _ TaN ah a

Rage 2 (509) 457-5991
—_

oan ooh WwW DN

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
29
30
31

Page 3

 

 

CERTIFICATE OF SERVICE

L hereby certify under penalty of perjury of the laws of the State of Washington that on
January 15, 2020, I electronically filed the foregoing with the Clerk of the Court using
the CM/ECF System which will send notification of such filing to the following:

e Alison Gregoire, Assistant United States Attorney
e Thomas J. Hanlon, Assistant United State Attorney

And upon the defendant herein, by U.S. Mail, postage prepaid properly addressed

as follows:

Lorenzo Elias Mendez, c/o Yakima Co. Jail, 111 North Front St., Yakima, WA 98901

s/ Ken Therrien
KEN THERRIEN, WSBA #20291
Attorney for Lorenzo Elias Mendez
413 North Second Street
Yakima, WA 98901
(509) 457-5991
Fax: (509) 457-6197
kentherrien@msn.com

MOTION FOR APPOINTMENT OF COUNSEL ON APPEAL KEN THERRIEN PLLC
PURSUANT TO THE CRIMINAL JUSTICE ACT 413 NORTH SECOND STREET

YAKIMA, WA 98901
(509) 457-5991
